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                       EXHIBIT 16
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                                                                Excluded Industries Chart
   Exclusion: Claims for recovery of Moratoria Losses are excluded from the Economic and Property Damages Settlement Class, and
              no Class Member shall recover for Moratoria Losses.

   Definition: “Moratoria Losses” means any loss whatsoever caused by or resulting from federal regulatory action or inaction
               directed at offshore oil industry activity – including shallow water and deepwater activity – that occurred after May
               28, 2010, including the federal moratoria on offshore permitting and drilling activities imposed on May 28, 2010 and
               July 12, 2010 and new or revised safety rules, regulations, inspections, or permitting practices.

Oil & Gas Industry1                              Support Services to Oil & Gas Industry2                              Gaming, Banking, Insurance, Funds,
                                                                                                                      Defense Contractors, and Developers3
Businesses / Employers                           Businesses / Employers                                               Businesses / Employers

   •   Excluded from the Economic &                  •    Businesses / employers on the list of “Industry                 •    Businesses / employers in these
       Property Damages Settlement                        Types Subject to Automatic Review by Claims                          categories of excluded industries are
       Class.                                             Administrator for Potential Moratoria Losses” in                     barred from recovery in the settlement
                                                          Section I of “Industry Types Subject to Review by                    for any type of business economic
                                                          Claims Administrator for Potential Moratoria                         losses.
                                                          Losses” shall be subject to automatic review for
                                                          potential moratoria losses upon submission of                   •    Businesses / employers in these
                                                          business claim, based on the NAICS code shown on                     categories are permitted to pursue
                                                          claimant’s 2010 tax return or business permit, or                    coastal and wetlands claims.
                                                          other evidence of the business’s activities that
                                                          allow the Claims Administrator to determine                     •    No recovery permitted for businesses /
                                                          whether a business falls under the Support Services                  employers in these categories under
                                                          to Oil & Gas Industry. The Claims Administrator                      any other aspect of the Economic &

   1
     NAICS codes listed in “’Oil & Gas Industry Exclusions” (026694‐26703).
   2
     NAICS Codes listed in Sections I & II of “Industry Types Subject to Review by Claims Administrator for Potential Moratoria Losses” (026613‐ 026631).
   3
     NAICS Codes listed in “Economic Loss and Property Class Definition Exclusions” (028759 - 028772).

                                                                                  1




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                                                         shall create dedicated team to evaluate business                     Property Damage Settlement Class.
                                                         economic loss claims from such businesses /
                                                         employers.

                                                    •    Businesses / employers on the list of “Industry
                                                         Types Subject to Question Regarding Support
                                                         Services to Oil & Gas Industry and Possible Review
                                                         by Claims Administrator for Potential Moratoria
                                                         Losses,” in Section II of “Industry Types Subject to
                                                         Review by Claims Administrator for Potential
                                                         Moratoria Losses,” based on the NAICS code shown
                                                         on claimant’s 2010 tax return or business permit, or
                                                         other evidence of the business’s activities that
                                                         allow the Claims Administrator to determine
                                                         whether a business falls under the Support Services
                                                         to Oil & Gas Industry are subject to the following
                                                         question: “In 2009, did your business provide
                                                         significant services, goods, and/or supplies to
                                                         businesses in the offshore oil & gas industry in the
                                                         Gulf of Mexico?”4 If the claimant responds
                                                         affirmatively, its claim shall be routed by the Claims
                                                         Administrator to a team dedicated to the
                                                         evaluation of business economic loss claims for
                                                         potential moratoria losses. Claimant shall be
                                                         required to provide supplemental information in
                                                         order for Claims Administrator to conduct this
                                                         review. If the claimant responds negatively, its
                                                         claim proceeds under normal processing.

                                                    •    All businesses / employers in this category are
                                                         barred from recovery for moratoria damages.

4
    See the NAICS Codes listed in Section II of “Industry Types Subject to Review by Claims Administrator for Potential Moratoria Losses” (026613 ‐ 026631).
                                                                                 2




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               •   No businesses / employers in this category release
                   moratoria claims.



               •   All businesses / employers in this category
                   permitted to pursue business economic loss claims
                   for (i) non‐moratoria business interruption from Oil
                   & Gas industry support service activities & (ii) non‐
                   Oil & Gas Industry economic losses, but claimant
                   must establish (i) & (ii) were in the judgment of the
                   Administrator due to or resulting from the DWH
                   Spill.

               •   The standard business economic loss frameworks
                   for causation shall apply to non‐moratoria losses.
                   Causation shall be determined prior to the
                   determination of the Moratorium Loss. However, if
                   in the judgment of the administrator, the result of
                   this causation test is driven predominantly by the
                   inclusion of the moratorium losses in the
                   calculation, then the administrator shall conduct an
                   individual review of the claim file to determine
                   whether the non‐moratorium portion of the loss
                   was in whole or in part due to or resulting from the
                   DWH Spill.

               •   In determinations of moratoria losses, the standard
                   business economic loss framework shall not apply.
                   Rather, the Claims Administrator’s dedicated team
                   shall be given parameters agreed upon by the
                   parties that must be applied to distinguish among
                                         3




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                                             economic loss due to or resulting from (i) moratoria
                                             and (ii) non‐moratoria economic loss.

                                         •   BP and PSC to develop agreed upon guidance that
                                             the Claims Administrator shall apply in making
                                             compensation determinations that adhere to the
                                             moratoria exclusion in the settlement agreement.

                                              •   In general, one of the parameters shall be that
                                                  the Claims Administrator shall be directed to
                                                  calculate the claimant’s non‐moratoria
                                                  economic loss due to or resulting from the
                                                  DWH Spill by isolating losses that occurred
                                                  prior to imposition of the moratoria on May
                                                  28, 2010, and any continuation of such losses
                                                  that might have been expected in the absence
                                                  of the moratoria. The incremental impact of
                                                  the moratoria on claimant’s losses generally
                                                  would not be recoverable in the settlement.

                                         •   RTP applied only to the claimant’s base economic
                                             loss, if any, that the Claims Administrator
                                             determines is non‐moratoria economic loss due to
                                             or resulting from the DWH Spill. Claimant receives
                                             RTP for Other Industries for the zone in which it is
                                             located.

                                         •   Such businesses / employers are permitted to
                                             pursue all other recovery permitted under other
                                             aspects of Economic & Property Damage
                                             Settlement Class.

Individuals / Employees               Individuals / Employees                                       Individuals / Employees
                                                                   4




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•   Individuals / employees employed       •   An individual / employee claimant’s application         •   Individuals / employees employed by
    by businesses or employers in Oil          shall include sufficient evidence of their employer’s       businesses or employers in excluded
    & Gas Industry are barred from             business activities to allow the Claims                     industry category are barred from
    recovery in the settlement for any         Administrator to determine whether the business /           recovery in the settlement for any type
    type of individual economic loss           employer falls under the Support Services to Oil &          of individual economic loss claim for
    claim arising out of any                   Gas Industry NAICS codes in “Industry Types                 work performed for an excluded
    employment or former                       Subject to Review by Claims Administrator for               employer.
    employment within the Oil & Gas            Potential Moratoria Losses.”
    Industry.                                                                                          •   However, such individuals/employees
                                           •   Individuals / employees of businesses or employers          are permitted to pursue individual
•   However, such individuals /                on the list of “Industry Types Subject to Automatic         economic loss claims for other jobs
    employees are permitted to                 Review by Claims Administrator for Potential                outside of excluded industries. If any
    pursue individual economic loss            Moratoria Losses” in Section I of “Industry Types           of claimant’s other jobs is for a
    claims for other jobs outside of           Subject to Review by Claims Administrator for               business / employer in the Support
    excluded industries. If any of             Potential Moratoria Losses” are subject to                  Services to Oil & Gas Industry,
    claimant’s other jobs is for a             automatic review for potential moratoria losses             evaluation of the claimant’s individual
    business / employer in the Support         upon submission of an individual claim and are              economic loss claim shall proceed
    Services to Oil & Gas Industry,            routed by Claims Administrator to dedicated team            pursuant to requirements specified in
    evaluation of the claimant’s               for evaluation of individual economic loss claims           Support Services to Oil & Gas Industry
    individual economic loss claim,            from such employees.                                        column of this chart. If all the
    shall proceed pursuant to                                                                              claimant’s other jobs are for a business
    requirements specified in Support      •    Individuals / employees of businesses / employers          / employer other than an employer in
    Services to Oil & Gas Industry             on the list of “Industry Types Subject to Question          the Oil & Gas Industry or Support
    column of this chart. If all the           Regarding Support Services to Oil & Gas Industry            Services to Oil & Gas Industry, then the
    claimant’s other jobs are for a            and Possible Review by Claims Administrator for             claimant’s claim shall be evaluated
    business / employer other than an          Potential Moratoria Losses” in Section II of                under the standard framework for
    excluded industry, business /              “Industry Types Subject to Review by Claims                 economic loss claims.
    employer in the Oil & Gas                  Administrator for Potential Moratoria Losses” and
    Industry, or Support Services to Oil       whose business / employer affirms that in 2009 the      •   Such individuals / employees are
    & Gas Industry, then the                   business / employer provided significant services,          permitted to pursue all other recovery
    claimant’s claim shall be evaluated        goods, and/or supplies to businesses in the                 permitted under other aspects of
    under the standard frameworks              offshore oil & gas industry in the Gulf of Mexico           Economic & Property Damage
                                                                     5




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    for economic loss claims.                 shall be subject to review for potential moratoria         Settlement Class.
                                              losses upon submission of an individual claim and
•   Such individuals / employees are          are routed by Claims Administrator to dedicated        •   All individuals / employees in this
    permitted to pursue all other             team to evaluation of individual economic loss             category are barred from recovery for
    recovery permitted under other            claims from such employees. Claimant shall be              moratoria damages.
    aspects of Economic & Property            required to provide supplemental information in
    Damage Settlement Class.                  order for Claims Administrator to conduct this         •   Individuals / employees in this category
                                              review.                                                    do not release moratoria claims or
•   All individuals / employees in this                                                                  claims for excluded losses.
    category are barred from recovery     •   An individual / employee claimant will not be
    for moratoria damages.                    subject to automatic review for potential moratoria
                                              losses if, before the individual / employee’s
•   Individuals / employees in this           economic loss claim is approved for payment, his
    category do not release moratoria         business / employer already has been approved for
    claims.                                   claim compensation by the Claims Administrator
                                              with no Moratorium Losses deducted.

                                          •   All individuals / employees in this category are
                                              barred from recovery for moratoria damages.

                                          •   No individuals / employees in this category release
                                              moratoria claims.

                                          •   All individuals / employees in this category are
                                              permitted to pursue settlement claims for
                                              economic loss incurred as a result of their
                                              employment in the Support Services to Oil & Gas
                                              Industry for (i) non‐moratoria business interruption
                                              from Oil & Gas industry support service activities &
                                              (ii) non Oil & Gas Industry economic losses.
                                              Claimant must establish (i) & (ii) were due to or
                                              resulting from the DWH Spill.


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               •   No causation presumptions for any individuals /
                   employees in this category seeking recovery for
                   economic losses incurred as a result of their
                   employment in the Support Services to Oil & Gas
                   Industry. However, the standard individual
                   economic loss Causation Presumptions do apply to
                   economic losses incurred not in the Support of
                   Services to the Oil & Gas Industry as reflected in the
                   businesses identified within the NAICS codes
                   attached.

               •   In determinations of moratoria losses, the standard
                   individual economic loss framework shall not apply.
                   Rather, the Claims Administrator shall distinguish
                   for a claimant’s Support Services to Oil & Gas
                   Industry job among economic loss due to or
                   resulting from (i) moratoria and (ii) non‐moratoria
                   economic loss. BP and PSC to develop agreed upon
                   guidance that the Claims Administrator shall apply
                   in making compensation determinations that
                   adhere to the moratoria exclusion in the settlement
                   agreement.

               •   With regard to the claimant’s Support Services to
                   Oil & Gas Industry job, he or she shall be eligible to
                   payment pursuant to the settlement only for non‐
                   moratoria economic losses due to or resulting from
                   the DWH Spill, based upon BP & PSC guidance to
                   Claims Administrator.

                   •     In general, one of the parameters shall be
                         whether individuals lost their job more than
                         thirty (30) days after the May 28, 2010
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                         moratorium, which will generally indicate
                         that the individual incurred such economic
                         losses as the result of the moratorium, not
                         due to or as a result of the DWH spill.

                   •     In general, one of the parameters shall be
                         whether individuals experienced reduced
                         hours prior the moratorium but did not lose
                         their job, which will generally indicate that
                         the full value of the lost earnings through
                         December 2010 were losses due to the DWH
                         Spill and not due to the moratorium.

               •   For the claimant’s Support Services to Oil & Gas
                   Industry job, an RTP shall be applied only to the
                   base economic loss, if any, that the Claims
                   Administrator determines is non‐moratoria
                   economic loss due to or resulting from the DWH
                   Spill. Claimant receives the RTP for Other
                   Industries for the zone in which employer is
                   located.

               •   Claimants in this category are permitted to pursue
                   individual economic loss claims for other jobs
                   outside the Support Service to Oil & Gas Industry
                   under standard individual economic loss
                   frameworks.

               •   Claimants in this category are permitted to pursue
                   all other recovery permitted under other aspects of
                   Economic & Property Damage Settlement Class.



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